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1     DAVID C. WEISS
2     Special Counsel
      Leo J. Wise
3     Principal Senior Assistant Special Counsel
4     Derek E. Hines
      Senior Assistant Special Counsel
5     Sean F. Mulryne
6     Christopher M. Rigali
      Assistant Special Counsels
7     950 Pennsylvania Avenue NW, Room B-200
8     Washington, D.C. 20530
      Tel: (771) 217-6090
9     christopher.rigali2@usdoj.gov
10    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
11
                               UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
      UNITED STATES OF AMERICA,                   No. CR 24-91-ODW
14
                  Plaintiff,                      GOVERNMENT’S MOTION FOR A
15
                  v.                              PROTECTIVE ORDER PURSUANT TO
16                                                SECTION 3 OF THE CLASSIFIED
       ALEXANDER SMIRNOV,                         INFORMATION PROCEDURES ACT
17
                  Defendant.
18                                                Hearing Date:     SEPTEMBER 9, 2024
                                                  Hearing Time:     1:30 p.m.
19
                                                  Location:         Courtroom of the Hon.
20                                                                    Otis D. Wright II
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23
            Plaintiff, United States of America, by and through its counsel of record, moves
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      this Honorable Court pursuant to Section 3 of the Classified Information Procedures Act
25
      (“CIPA”), 18 U.S.C. App. III, § 3, the “Revised Security Procedures Established Pursuant
26
      to Pub. L. 96-456, 94 Stat. 2025, by the Chief Justice of the United States for the
27
      Protection of Classified Information” (reprinted after CIPA Section 9), Rules 16 and 57
28
      of the Federal Rules of Criminal Procedure, and the general supervisory powers of the
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1     Court, and to protect the national security, for a protective order governing the disclosure,
2     handling, and dissemination of classified national security information. The proposed
3     protective order is attached to this motion as an exhibit.
4           The Government and defense counsel conferred on more than one occasion about
5     the proposed protective order but ultimately were not able to agree on its specific terms.
6     Should the Defendant file a written opposition to this motion noting specific objections
7     to the proposed protective order, the Government requests the opportunity to respond.
8           This motion is based upon the attached memorandum of points and authorities, the
9     indictment in this case, and any further evidence and argument as the Court may deem
10    necessary.
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      Dated: August 2, 2024                            Respectfully submitted,
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                                                       DAVID C. WEISS
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                                                       SPECIAL COUNSEL
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                                                       _ /s/ Christopher M. Rigali
16                                                     LEO J. WISE
17
                                                       DEREK E. HINES
                                                       SEAN F. MULRYNE
18                                                     CHRISTOPHER M. RIGALI
19
                                                       Assistant Special Counsels
                                                       Attorneys for Plaintiff
20                                                     UNITED STATES OF AMERICA
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1                     MEMORANDUM OF POINTS AND AUTHORITIES
2           On March 1, 2024, the Government filed a notice apprising the Court that it may
3     need to bring to the Court’s attention certain matters involving classified information.
4     ECF No. 48. As such, the Government noticed the Court and the defense that it was
5     invoking CIPA and requested that the Court appoint a Classified Information Security
6     Officer (“CISO”) to assist the Court and the parties with the handling of matters
7     pertaining to classified information. Id. The Court thereafter appointed W. Scooter Slade
8     as the CISO in this matter. ECF No. 49.
9           In the March 1, 2024 notice, the Government explained that Section 3 of CIPA
10    provides for the issuance of a protective order “to protect against the disclosure of any
11    classified information disclosed by the United States to any defendant in any criminal
12    case.” 18 U.S.C. App. III, § 3 (providing that district courts, upon motion of the United
13    States, “shall issue an order to protect against the disclosure of any classified
14    information”). As the Government explained, CIPA Section 3 protective orders typically
15    set forth rules for all parties governing the use and storage of classified information. See,
16    e.g., United States v. Broumand, No. CR 20-224(A)-RGK, ECF No. 79 (C.D. Cal.).
17          On July 17, 2024, this Court entered an order granting the Government’s classified,
18    ex parte CIPA Section 4 motion. ECF No. 94. In that order, the Court permitted the
19    Government to “[p]rovide substitutions or summaries for certain, identified classified
20    information,” id., and some of those substitutions will be classified. At this time, the
21    Government would like to produce the classified discovery to cleared defense counsel,
22    but a protective order pursuant to CIPA Section 3 is a prerequisite to the Government
23    providing such discovery. As such, the Government moves for the entry of the attached
24    protective order.
25    //
26    //
27    //
28    //

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1                                                 Respectfully submitted,
2
                                                  DAVID C. WEISS
3                                                 SPECIAL COUNSEL
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5                                                 _ /s/ Christopher M. Rigali
6                                                 LEO J. WISE
                                                  DEREK E. HINES
7                                                 SEAN F. MULRYNE
8                                                 CHRISTOPHER M. RIGALI
                                                  Assistant Special Counsels
9                                                 Attorneys for Plaintiff
10                                                UNITED STATES OF AMERICA

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